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IN THE UNITED sTATEs DIsTRIcT coURT r*""' ' 035
FoR THE wEsTERN DISTRICT 0F TENNESSE];:] ,‘, H
wEsTERN DIvIsIoN SJU 42¢4 r1 ~

 

 

UNITED STA'I'ES OF AMERICA
Plaintiff,

criminal NO.O¥ O(PI§/@ Mi

ww @Mép// (30-Day Continuance)
/ / q

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Defendant (s) .

 

CONSEN'I` ORDER ON C‘RIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I'IME

 

As indicated. by' the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the July, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, Julv 22, 2005, with trial to take place on the
August, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through August 12, 2005. Agreed in open court at

report date this 24th day of June, 2005.

This docc.ment entered on the docket sheet ln comp!iance
with R.l|e 55 and/or azrbl FHCrP on

,269

Case 2:O4-cr-20482-.]P|\/| Document 26 Filed 06/24/05 Page 2 of 3 Page|D 39

so oRDERED this 24th day of June, 2005.

19st mc QQQ
ON HIPPS MCCALLA
'J`U'NI ED STATES DIS’I'RIC'I' JUDGE
§§“:@7\->%\
Assistant United States Attorney

gm Mw»/m /)
/c/

4 (//’

Counsel for Defendant(s)

 

 

   

UNITED sTATE DRISTIC COUR - W'"ERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CR-20482 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

